 

SD <Wares Disrtier Covti”

        
  

Case 4:18-cv-00341,

  

 

 

 

 

 

 

 

 

 

 

 

© _ Zz. L272. _
~- APR ~ 1 090 Huse * Y-19- C-0030(-F°
—_— YRIoveanw, A, — ;
By on

 

 

ZOU e.g eST Aeric/

 

WOVE SHow THE “ew tCo thiae 7

Intee Berort THe lrerale oF THs Peron, Tener
bas Feo ComplAarvres 60 CLEBSITE, TELE PIPED, IEWT LETTERS To
te Dew fore VEEL CATION OF (fis REGISTER Le THESE (FCT O ws

eile aT EVEN ACK Sole tE0€Ed BY D:-OnSe, LF FED G06 MELISS

@ (02. tt ctide Crh Rewt Test ay A CemaATi on 75 KeecttsrP
By SrArvTe, ACT Ct, Mt WAS «

 

Naw For7 Wp2Tt! FD, Od) TRE S0W) VOLITION, SEL0ES
4 Dbco MET Je Cacr? TEs! Ar Time O#KEG1OTIT« SEI FF
LM EP GD F000 E0081 te F14s Covb? evpjérs QIESE GSAS STARTED »
Y/ 3H Disrrtr Cover TWieté Lous Stehws pgabv€ Je REITER
Asn MeTiybuat Peeasyot Ts DiskEDn7T Als DVocsma# AID

anyT” Pot wEeppeneKEceers, 1H Mi» po Gene on) CASE
AT tes

Leamice fhas Fen Tre Cosi sn7vjjoypl VYienTiads,
THe FhotrovrsL YlolAT/{0WS, Awd THE LIRADY HrOtATIONS 4 DUE
Prove. 7 Fitts Peneg, Zits Covrr Mles TBE Power of velryie/e
© We Frer te (eanpiPF Dip Cergog aviy pee Ke cesiTetizror

By AsecnTtpes ww B:OT L THeS Mave Tite fPDDRESS
a Feel of F

 
 

 

Case 4:18-cv-00341-P Document 62 Filed 04/01/20 Page2of5 PagelD 356

O« Few? ClO IRT Fete, THE Settle Par td nares, JES,
A PREV bus Spkess OF Kestsit/ ow LadbsDacée LAWE 1
Seewae, Tats, serene Tiawzre HAD Fesy vietleo Fkoa Te
_ fee arr
JPESE (Fees sine Dar Bort SJePtens Aub Wb

OP We 2/3 w DisvRier Cavhe RE GOolrt7Ty IF SPUR E
THe pawlsweat Devries OF Ferre Pascieus By Me! Cewle
AWWihee OF Fit Liaeds Trey (PLE (77 flo ONWE FéRses For.
Hap Wése Togs cuge Kewee THasEé THAWED, LAS FE whenr
fxberjr fw Repu lier oF KReast hea Tie) $ID Pow S)07tE
TE earpJ, Fins LITIGATION waved pay BE MW Fess AR. The
Lap sriv¥ 15 Ste Roe pA, ABGLr Dr0.F INVE S11 CATHIE fold

UNC’ AIsS(8T (VAIN) WAZ Fo Feuer En

@ - _ Frere Issgiee Fite n7Artep OF Fite FRESE J POR MATION __

Tuer Patog (s_Usint Je ord Pitan irFa W500, Trt LBC ¢ 1AM

Sricna¢sen Awd The Assit 1tAT(on fas rt Yo 13 79b LF a

Weibel Tey COEATED 0 Peozecies CFE RT [M7enEST! Of3colék]

As MecCESSRAYS fas Vtep 1s AF lbollTGD ATTOLNEY (O2 Z77d

Ws coeVvseye-

PERNNTIRF OER (ay Fis Camp” Je VERIFY Aet

Wis wifotprmien vrs Tiree TAK ANd Keeotnyze FAT Ae

Poopnacée Oc EXIsteD SReone Fite SPART- wp 7713 PReESE

fr PRI sONip aur BtHOLLD Nor lave eke). L daQyen He

Jhes Covet twoued Uece THe Das Fe Pueseg A NVETICATION

re These Porcine cag gegawees Ane cenk. Tite vba veless
© OF THE SIGUE Se f7 7S pron Clapp. Jo Ce DERS; AD LWHATIS

Mp) (3 Nal REGU RCC Pi Fae TAarswd.
Jee 2 0F 3
 

 

Case 4:18-cv-00341-P Document 62 Filed 04/01/20 Page3of5 PagelD 357 ©

) | COWAATE OF SERVICE

 

A Chi 42 Jie bev6 fas Been aftustto&o WA
THe tS. PIaL Ov Ths 2 71d Ty Af prahety 04d Fe
TARR Cowry Zlerk ¢ot th Beil ag far (enti, Fe. 16196

 

KESVECTIULYY SVEN ZIED,
seat

__ . tas Fs

he gure 227653!
Tee lhe7-
7 ¥ae thon fa fee’ Ro
Nites of, Te 77 HEI

 

 

 

 

 

 

 

 

 

 

 

P66 3B 3
Case 4:18-cv-00341-P. Document 62 Filed 04/01/20 Page4of5 PagelD 358

LkCa fraaIL

"re enee mane:
+e Nate

PRIVILEGED OFFENDER MAIL

hs

}. NOT INSPECTED BY TEXAS ! |
{ DEPARTMENT OF CRIMINAL 7
; JUSTICE. CORRECTIONAL % |
f INSTITUTIONS DIVISION # | |

al !

 
Case 4:18-cv-00341-P. Document 62 Filed 04/01/20 Page5of5 PagelD 359

afplUUyhyetedpenpety fof ple ge Efel Ua EEC fovegfegtf ey tfg
2 “2y,

2. QIDL spraf Op LY?
uo GLOL
wsiC7

jas
ae 220)

ong “Y ~

_r9on) #4

vVSA / HyaARaYOd

1 Wel OZOE EN OC

  

“Oh NOLLSONSH ie Cune

—
y

comm nm MIT AL

 

 
